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                       NOTE: This order is nonprecedential.


            United States Court of Appeals
                for the Federal Circuit
                           ______________________

                                REHCO LLC,
                              Plaintiff-Appellant

                                       v.

                           SPIN MASTER, LTD.,
                             Defendant-Appellee
                           ______________________

                                 2017-2589
                           ______________________

             Appeal from the United States District Court for the
          Northern District of Illinois in No. 1:13-cv-02245, Judge
          John Robert Blakey.
                          ______________________

                               ON MOTION
                           ______________________

          Before DYK, Circuit Judge.
                                  ORDER
             Spin Master, Ltd. moves unopposed to waive the
          requirements of Federal Circuit Rule 28(d).
              Under Federal Circuit Rule 28(d), a party seeking to
          mark as confidential more than 15 unique words in its
          brief “must file a motion with this court establishing that
          the additional confidentiality markings are appropriate
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          and necessary.” “For example,” Rule 28(d) provides, “a
          party may establish that an argument cannot be properly
          developed without additional disclosure of confidential
          information in the brief, and public disclosure will risk
          causing competitive injury.” Id.
              Spin Master says that additional markings are appro-
          priate here because it needs to discuss highly confidential,
          technical information relating to the operation of Spin
          Master’s products in order to properly respond to argu-
          ments raised in the opening brief and properly develop its
          own arguments concerning the district court’s infringe-
          ment analysis and findings. To that end, Spin Master
          seeks to mark a total of 54 words and three figures.
               The court notes that Spin Master appears to have
          unnecessarily included in its count a significant number
          of words that were marked as confidential in the opening
          brief. See Fed. Cir. R. 28(d)(1)(A) (“A brief need not count
          toward its allotment words that were marked confidential
          for the first time in the briefing schedule in an immediate-
          ly preceding brief to which it is responding.”).
              The court otherwise finds good cause for the addition-
          al markings, as the court previously granted the appellant
          leave to mark additional words and figures in its opening
          brief involving similar material that the parties suggest
          the disclosure of which could risk causing competitive
          injury.
              Accordingly,
              IT IS ORDERED THAT:
              The motion is granted.
                                           FOR THE COURT

                                            /s/ Peter R. Marksteiner
                                            Peter R. Marksteiner
                                            Clerk of Court
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